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US. District Court
Northern District of Alabama (Southern)
CIVIL DOCKET FOR CASE #: 2:12-cvy-02525-RDP

GC Advertising LLC et al v. Blue Cross and Blue Shield of | Date Filed: 07/24/2012

Alabama et al Jury Demand: Plaintiff
Assigned to: Judge R David Proctor Nature of Suit: 410 Anti-Trust
Lead case: 2:12-cv-01133-RDP Jurisdiction: Federal Question

Member case: (View Member Case)
Cause: 28:1337 Sherman-Clayton Act

Plaintiff
GC Advertising LLC represented by Gregory L Davis
DAVIS & TALIAFERRO LLC
7031 Halcyon Park Drive
Montgomery, AL 36117
334-832-9080
Fax: 334-409-7001
Email: gldavis@knology.net
ATTORNEY TO BE NOTICED
Plaintiff
CB Roofing LLC represented by Gregory L Davis
on behalf of themselves and all others (See above for address)
similarly situated ATTORNEY TO BE NOTICED
V.
Defendant
Blue Cross and Blue Shield of represented by Carl S Burkhalter
Alabama MAYNARD COOPER & GALE PC

AmSouth Harbert Plaza, Suite 2400
1901 6th Avenue North
Birmingham, AL 35203-2618
254-1000

Email:
cburkhalter@maynardccooper.com
ATTORNEY TO BE NOTICED

James L Priester

MAYNARD COOPER & GALE PC
2400 Regions/Harbert Plaza

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1901 Sixth Avenue N

Birmingham, AL 35203
205-254-1000

Fax: 205-254-1999

Email: jpriester@maynardcooper.com
ATTORNEY TO BE NOTICED

Pamela B Slate

HILL HILL CARTER FRANCO COLE
& BLACK PC

425 S Perry Street

Montgomery, AL 36104

334-834-7600

Fax: 334-386-438 |

Email: pslate@hillhillcarter.com
ATTORNEY TO BE NOTICED

Defendant

Blue Cross and Blue Shield
Association

| Date Filed # | Docket Text

07/24/2012 COMPLAINT (with certified mail request) against Blu ue 2 Cross and Blue Shield |
Association, Blue Cross and Blue Shield of Alabama, filed by GC Advertising
LLC, CB Roofing LLC.(SAC ) (Entered: 07/24/2012)

07/24/2012 Filing Fee: Filing fee $ 350, receipt_number 1126-1716895/ ALND receipt#:
B4601035612. related document | COMPLAINT (with certified mail request)
against Blue Cross and Blue Shield Association, Blue Cross and Blue Shield of
Alabama, filed by GC Advertising LLC, CB Roofing LLC.(SAC ). (Davis,
Gregory) Modified on 7/25/2012 (SAC, ). (Entered: 07/24/2012)

07/25/2012 Minute Entry for proceedings held before Judge R David Proctor: Status
Conference held on 7/25/2012. The court will enter a separate order outlining
the deadlines as indicated on the record. (Court Reporter Anita McCorvey.)
Associated Cases; 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP(KLL) (Entered:
07/27/2012)

07/27/2012

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ORDER-By agreement of the parties, it is ORDERED that case 2:12-cv-
2525-KOB, be consolidated with case 2:12-cv-1133-RDP. In the future, all other
documents should be electronically filed only in the lead case 2:12-CV-
1133-RDP. Signed by Judge R David Proctor on 7/27/2012. Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-

2 of 13 9/712 8:41 AM
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02.185-RDP, 2:12-cv-02525-RDP(AVC) (Entered: 07/27/2012)

07/27/2012 3 | ORDER-By agreement of the parties, itis ORDERED that case 2:12-cv-
2537-TMP will be consolidated with 2:12-cv-1133-RDP. In the future, all other
documents should be electronically filed only in the lead case 2:12-CV-
01133-RDP. Signed by Judge R David Proctor on 7/27/2012. Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02537-RDP(AVC) (Entered:

07/27/2012)

07/27/2012 4 | ORDER -It is the courts intent to appoint Interim Lead Class Counsel pursuant
to Federal Rule of Civil Procedure 23(g)}(3) in these consolidated cases.
Applications and/or nominations for the Interim Lead Class Counsel position
must be filed with the Clerks Office electronically on or before Tuesday,
September 4, 2012. Signed by Judge R David Proctor on 7/27/2012. Associated
Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02537-RDP(AVC) (Entered:
07/27/2012)

07/3 1/2012 5 | Transcript of Proceedings heid on 7/25/2012, before Judge R. David Proctor.
Court Reporter/Transcriber Anita McCorvey, Telephone number 205-278-2063.
Transcript may be viewed at the court public terminal or purchased through the
Court Reporter/Transcriber before the deadline for Release of Transcript
Restriction. After that date it may be obtained through PACER. NOTICE: The
parties have seven (7) calendar days to file with the Court a Notice of Intent to
Request Redaction of this trauseript. [Fo such Notice ts tiled. the transeript will
be made remotely electronically available to the public without redaction after
90 calendar days, (A copy can be obtained at http://www.alnd.uscourts.gov/local
‘court forms/transcripts/Transcript Redaction Policy.pdf) See Transcript
Redaction Policy Redaction Request due 8/21/2012. Redacted Transcript
Deadline set for 8/31/2012. Release of Transcript Restriction set for 10/29/2012.
Associated Cases: 2:12-cv-01133-RDP, 2:12-cy-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02537-
RDP(AVC) (AVC, }. (Entered: 07/31/2012)

08/02/2012 6 | Amended Transcript of Proceedings held on 7/25/2012, before Judge R. David

Proctor. Court Reporter/Transeriber Anita McCorvey, Telephone number
205-278-2063. Transcript may be viewed at the court public terminal or
purchased through the Court Reporter/Transcriber before the deadline for
Release of Transcript Restriction. After that date it may be obtained through
PACER. NOVICE: The parties have seven (7) calendar days to file with the
Court a Notice of Intent to Request Redaction of this transcript. If no such
Notice is filed, the transerept will be made remotely electronically available to
the public without redaction after 90 calendar days. (A copy can be obtained at
http://www.alnd.uscourts.gov/local/court forms/transcripts/Transcript Redaction
Policy.pdf) See Transcript Redaction Policy Redaction Request due 8/23/2012.
Redacted Transcript Deadline set for 9/4/2012. Release of Transcript Restriction

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set for 10/31/2012. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2: 12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02537-
RDP(AVC) (Entered: 08/02/2012)

08/06/2012 7 | Summons Issued as to Blue Cross and Biue Shield Association, Blue Cross and
Blue Shield of Alabama; mailed certified mail. (AVC) (Entered: 08/06/2012)
08/07/2012 8 ORDER. This matter is before the court on the Provider Pitfs' Motion to

Consolidate and Establish Seperate Track (#2 in 2:12-cv-02532-LSC). By
agreement of the parties and over no objection from others, it is ORDERED that
the motion is GRANTED, and that case 2: 12-cv-2532-LSC, be consolidated
with case 2:12-cv-1]33-RDP. In the future, all other documents should be
electronically filed only in the lead case, Richards, et al. v. Blue Cross and Blue
Shield of Alabama, et al., 2:12-CV-01133-RDP. Signed by Judge R David
Proctor on 8/6/2012. Associated Cases: 2:12-cv-01133-RDP, 2:12-ev-
01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP,
2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(AVC) (Entered: 08/07/2012)

08/09/2012 9 | SUMMONS Returned Executed Blue Cross and Blue Shield of Alabama served
on 8/7/2012, answer due 8/28/2012. (AVC) (Entered: 08/09/2012)

08/10/2012 10 | NOTICE of Appearance by James L Priester on behalf of Blue Cross and Blue
Shield of Alabama. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: |2-cv-02525-RDP, 2: 12-cv-
02532-RDP, 2:12-cv-02537-RDP(Priester, James) Modified on 8/10/2012
(AVC). (Entered: 08/10/2012)

08/16/2012 Ut | NOTICE of Appearance by Carl S Burkhalter on behalf of Blue Cross and Blue
Shield of Alabama. Associated Cases: 2:12-cvy-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2: 12-cv-G2185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-
02532-RDP, 2:12-cv-02537-RDP(Burkhalter, Carl) Modified on 8/16/2012
(AVC). (Entered: 08/16/2012)

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08/17/2012 12 | STIPULATION (Agreed) of the Conway Parties by Blue Cross and Blue Shield
Association. filed by Blue Cross and Blue Shield Association Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:1 2-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-

RDPCWest, Kimberly) (Entered: 08/17/2012)

08/17/2012 [3 | NOTICE of Appearance by Pamela B Slate on behalf of Blue Cross and Blue
Shield of Alabama, Blue Cross and Biue Shield of Alabama Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-
RDP(Slate, Pamela) (Entered: 08/17/2012)

08/20/2012 |4 | SUMMONS Returned Executed Blue Cross and Blue Shield Association served
on 8/10/2012, answer due 8/31/2012. (AVC) (Entered: 08/20/2012)

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08/20/2012 15 | MOTION for Leave to Appear pro hac vice of Charles R. Watkins by Chris
Bajalieh, Consumer Financial Education Foundation of America Inc. Associated
Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cvy-
02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-
RDP(Guin, David) (Entered: 08/20/2012)

08/20/2012 16 | MOTION for Leave to Appear pro hac vice of John R. Wylie by Chris Bajalieh,
Consumer Financial Education Foundation of America Inc. Associated Cases:
2:12-cv-01133-RDP, 2: 12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-
RDP(Guin, David) (Entered: 08/20/2012)

08/21/2012 17 | ORDER-Before the court is the Motion for Admission Pro Hac Vice of Charles
R. Watkins (59 in 2:12-cv-01133-RDP). The motion is CONDITIONALLY
GRANTED. By 8/27/2012, Attorney Watkins SHALL: pay the $50 filing fee,
and Certify to the court that he has read and understands: any local rules
applicable in this District; the Alabama State Bar Pledge of Professionalism; this
court's CM/ECF requirements. Signed by Judge R David Proctor on 8/21/2012.
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(AVC) (Entered: 08/2 1/2012)

08/21/2012 [8 | MOTION for Leave to Appear pro hac vice of John R. Wilie by Chris Bajalieh,
Consumer Financial Education Foundation of America Inc. Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: i12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-
RDP(Guin, David) (Entered: 08/21/2012)

08/21/2012 19 | CERTIFICATE of Counsel of Charles R. Watkins in support of Motion to
Appear Pro Hac Vice by David J Guin on behalf of Chris Bajalieh, Consumer
Financial Education Foundation of America Inc Associated Cases: 2:12-cv-
01133-RDP, 2: 12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Guin, David)
(Entered: 08/21/2012)

08/21/2012 PHV Fee paid: $100.00, Receipt# B4601036372 for Attorneys Charles R.
Watkins and John R. Wylie. Associated Cases: 2:12-cv-01133-RDP, 2:12-cev-
01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP,
2:12-cv-02532-RDP, 2:12-cv-02537-RDP(AVC) (Entered: 08/21/2012)

08/21/2012 20 | ORDER-Before the court is Motion for Admission Pro Hac Vice of John R.
Wylie (62 in 2:12-cv-01133-RDP). The Motion is CONDITIONALLY
GRANTED. By 8/27/2012, Attorney Wylie SHALL: pay the $50 filing fee, and
Certify to the court that he has read and understands: any local rules applicable
in this District; the Alabama State Bar Pledge of Professionalism; and this
court's CM/ECF requirements. Signed by Judge R David Proctor on 8/21/2012,
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cev-

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02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(AVC) (Entered: 08/21/2012)

08/27/2012

NOTICE of Appearance by J Bentley Owens, II] on behalf of Premera Blue
Cross of Alaska Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2:12-cv-
02532-RDP, 2:12-cv-02537-RDP(Owens, J) (Entered: 08/27/2012)

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08/27/2012

MOTION for Leave to Appear Pro Hac Vice for Gwendolyn C. Payton by
Premera Blue Cross of Alaska. (Attachments: # 1 Exhibit A)Associated Cases:
2: 12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:!2-cv-02537-
RDP(Owens, I) (Entered: 08/27/2012)

MOTION for Leave to Appear Pro Hac Vice for Erin M. Wilson by Premera
Blue Cross of Alaska. (Attachments: # 1 Exhibit A)Associated Cases: 2:12-cv-
01 133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP,

2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Owens, J)
(Entered: 08/27/2012)

08/27/2012

08/27/2012

PHV Fee paid: $50, Receipt# 1126-1743094 (ALND# B4601036526).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-ev-02537-RDP(Owens, J) Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

PHV Fee paid: $50, Receipt# 1126- 1743 100 (ALND# B4601036527),
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-G2532-RDP,
2:12-cv-02537-RDP(Owens, J) Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

08/27/2012

08/27/2012

NOTICE of Appearance by John M Johnson on behalf of Blue Cross and Blue
Shield of Kansas, Blue Cross and Blue Shield of Kansas City, Blue Cross and
Blue Shield of Nebraska Associated Cases: 2:12-cv-01133-RDP, 2:12-cy-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP,
2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Johnson, John) (Entered: 08/27/2012)

NOTICE of Appearance by Brian P Kappel on behalf of Blue Cross and Blue
Shield of Kansas, Blue Cross and Blue Shield of Kansas City, Blue Cross and
Blue Shield of Nebraska Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-
01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP,

2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Kappel, Brian) (Entered: 08/27/2012)

08/27/2012

MOTION for Limited Admission (Pro Hac Vice of Kathleen Taylor Sooy} by
Blue Cross and Blue Shield of Kansas, Blue Cross and Blue Shield of Kansas
City, Blue Cross and Biue Shield of Nebraska. (Attachments: # | Exhibit
LyAssociated Cases: 2:12-cv-01133-RDP, 2:[2-cv-01910-RDP, ?:12-cv-

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02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2:12-cv-02532-RDP,
2: 12-cv-02537-RDP(Johnson, John) (Entered: 08/27/2012)

08/27/2012 PHV Fee paid: $50, Receipt# 1126-1743 195 (ALND# B4601036529),
Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(Johnson, John} Modified on 8/30/2012 (AVC), (Entered:
08/27/2012)

08/27/2012 27 | MOTION for Limited Admission ( Pro Hac Vice of Tracy A. Roman} ) by Blue
Cross and Blue Shield of Kansas, Blue Cross and Blue Shield of Kansas City,
Blue Cross and Blue Shield of Nebraska. (Attachments: # | Exhibit
1)Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-O1910-RDP, 2:12-cv-

02 169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(Jchnson, John) (Entered: 08/27/2012)

08/27/2012 PHV Fee paid: $50, Receipt# 1126-1743214 (ALND# B4601036530).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2: 12-cv-02537-RDP(Johnson, John) Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

08/29/2012 28 | ORDER: 70 and 71 "Motions for Leave to Appear PHV for Kathleen Taylor
Sooy and Tracy Roman are GRANTED); 66 and 67 , Motions for Leave to
Appear Pro Hac Vice for Gwendolyn Payton and Erin Wilson are
CONDITIONALLY GRANTED, as further set out in order. Signed by Judge R
David Proctor on 08/29/12. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP,
2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(CVA) Modified on 8/29/2012 (CVA).
(Entered: 08/29/2012)

08/30/2012 NOTICE of Appearance by Cavender C Kimble on behalf of Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: |2-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-ev-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

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| 08/30/2012 30 | MOTION for Leave to Appear Pro Hac Vice Craig A. Hoover by Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of

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Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2: 12-cy-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 31 | MOTION for Leave to Appear Pro Hac Vice J. Robert Robertson by Anthem
Blue Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield
of New Hampshire, Anthem Blue Cross and Blue Shield of Virginia Inc,
Anthem Blue Cross and Shield of Missouri, Anthem Health Plans of Maine,
Anthem Inc, Blue Cross and Blue Shield of Florida, Blue Cross and Blue Shield
of Georgia, Blue Cross and Blue Shield of Louisiana, Blue Cross and Blue
Shield of Massachusetts, Blue Cross and Blue Shield of Minnesota, Blue Cross
and Blue Shield of North Carolina, Blue Cross and Blue Shield of South
Carolina, Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield
of New Jersey, Wellmark of South Dakota Inc. Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP,
2:12-cev-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Kimble,
Cavender) (Entered: 08/30/2012)

MOTION for Leave to Appear Pro Hac Vice Emily M. Yinger by Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Biue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2:12-cev-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012

Ks

08/30/2012 33 | MOTION for Leave to Appear Pro Hac Vice £. Desmond Hogan by Anthem
Blue Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield
of Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem
Blue Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue

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Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Biue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2:12-cv-02532-RDP,

2: 12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 34 | NOTICE of Appearance by D Keith Andress on behalf of Blue Cross and Blue
Shield of Tennessee Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP,
2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Andress, D) (Entered: 08/30/2012)

08/30/2012 35 | MOTION for Leave to Appear Pro Hac Vice N. Thomas Connaily by Anthem
Blue Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield
of Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem
Blue Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cy-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 36 | NOTICE of Appearance by Kevin R Garrison on behalf of Blue Cross and Blue
Shield of Tennessee Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-
01910-RDP, 2:12-cv-02169-R DP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP,
2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Garrison, Kevin) (Entered:
08/30/2012)

08/30/2012 37 | NOTICE of Appearance by Emily M Yinger on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cvy-01133-RDP,
2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Yinger, Emily) (Entered:
08/30/2012)

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08/30/2012 38 | NOTICE of Appearance by N Thomas Connally, Ii on behalf of Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Biue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Blue Cross and Blue Shield of
Tennessee, Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield
of New Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Connally, N)
(Entered: 08/30/2012)

08/30/2012 39 | NOTICE of Appearance by E Desmond Hogan on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(Hogan, E) (Entered:
08/30/2012)
08/30/2012 40 | NOTICE of Appearance by Craig A Hoover on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cy-01133-RDP,
2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2:[2-cv-02532-RDP, 2:12-cv-02537-RDP(Hoover, Craig) (Entered:
08/30/2012)

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08/31/2012 41 | NOTICE of Appearance by J Robert Robertson on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Robertson, J) (Entered:
08/31/2012)

08/3 1/2012 42 | ORDER-Before the court are Motions for Admission Pro Hac Vice on behalf of
Craig A. Hoover 74 ,J. Robert Robertson 75 , Emily M. Yinger 76 , E.
Desmond Hogan 77 , and N. Thomas Connally 79 . The motions are
CONDITIONALLY GRANTED. By 9/7/2012, the Attorneys seeking admission
SHALL pay the $50 pro hac vice fee; and Certify to the court that they have
read and understand: any local rules applicable in this District; the Alabama
State Bar Pledge of Professionalism; this court's CM/ECF requirements. Signed
by Judge R David Proctor on 8/30/2012. Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(AVC) (Entered:

08/3 1/2012)

PHV Fee paid: $250.00, Receipt# B4601036604, for Attorneys Craig A.
Hoover, J. Robert Robertson, Emily M. Yinger, E. Desmond Hogan and N.
Thomas Connally. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-
02532-RDP, 2:12-cv-02537-RDP(AVC) (Entered: 08/3 1/2012)

09/04/2012 43 | NOTICE of Compliance re: Attorneys Gwendolyn C. Payton and Erin M.
Wilson by Premera Blue Cross of Alaska re (31 in 2:12-cv-02532-
RDP)(Attachments: # | Exhibit Application and Declaration of Gwendolyn C.
Payton in Support of Motion for Admission Pro Hac Vice, # 2 Exhibit
Application and Declaration of Erin M. Wilson in Support of Motion for
Admission Pro Hac Vice)Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP,
2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Owens, J) Modified on 9/4/2012
(AVC). (Entered: 09/04/2012)

MOTION to be Appointed Lead Counsel in the Provider Track by Jerry L
Conway. (Attachments: # | Exhibit 1, #2 Exhibit 2)Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP( Whatley, Joe)

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12 of 13

Modified on 9/4/2012 (AVC). (Entered: 09/04/2012)

09/04/2012

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Brief re(50 in 2:12-cv-01133-RDP) Order,, Application to Appoint Cohen
Milstein as Interim Class Counsel and John D. Saxon as Interim Liaison
Counsel. (Attachments: # | Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
D, #5 Exhibit E, # 6 Exhibit F, #77 Exhibit G, # 8 Exhibit H)Associated Cases:
2:12-cy-01133-RDP, 2: 12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-
RDPSmall, Daniel) (Entered: 09/04/2012)

09/04/2012

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JOINT Application of Boies, Schiller & Flexner LLP, Donaldson & Guin, LLC,
and Pittman, Dutton & Hellums, PC to Serve as Interim co-Lead Counsel by
Nicholas A Layman, One Stop Environmental, LLC. (Attachments: # 1 Exhibit
A, #2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, #5 Exhibit E)Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:1] 2-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-
RDP(Hellums, Christopher) Modified on 9/5/2012 (AVC). (Entered:
09/04/2012)

09/04/2012 | 47

MOTION to Appoint Counsel Greg Davis Interim Lead Class Counsel in the
Subscriber Track by GC Advertising LLC. Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP,

2: 12-cv-02525-RDP, 2: |2-cv-02532-RDP, 2: 12-cv-02537-RDP(Davis, Gregory)
Modified on 9/5/2012 (AVC). (Entered: 09/04/2012)

09/05/2012

CERTIFICATION of Emily M. Yinger Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2:]2-cv-02532-RDP, 2:12-cv-02537-RDP(Yinger, Emily} Modified
on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012

CERTIFICATION of N. Thomas Connally Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cy-02532-RDP, 2: 12-cv-02537-RDP(Connally, N)
Modified on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012

CERTIFICATION of E. Desmond Hogan Associated Cases: 2:12-cv-
01133-RDP, 2: 12-cv-01910-RDP, 2: 12-cvy-02169-RDP, 2: 12-cv-02185-RDP,
2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Hogan, E)
Modified on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012

CERTIFICATION of Craig A. Hoover Associated Cases: 2:]2-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Hoover, Craig) Modified
on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012

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CERTIFICATHON of J. Robert Robertson Associated Cases: 2:12-cy-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cy-02532-RDP, 2:12-cv-02537-RDP(Robertson, J)

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Modified on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/06/2012 53 | SUPPLEMENT to the Application to Appoint Cohen Milstein as Interim Class
Counsel and John D. Saxon as Interim Liason Counsel (89 in 2:12-cv-
01133-RDP) by Thomas A Carder, Jr, Industrical Sales & Service LLC,
American Electric Motor Services Inc, Fred R Richards, Richards and Sons
Construction Company Inc Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP,
2:12-cev-02532-RDP, 2:12-cv-02537-RDP(Small, Daniel) Modified on 9/7/2012
(AVC). (Entered: 09/06/2012)

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Case MDL No. 2406 Document 2-4 Filed 09/07/12 Page 14 of 41

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ALABAMA
SOUTHERN DIVISION

GC ADVERTISING, LLC; CB
ROOFING, LLC, on Behalf of
Themselves and All Others Similarly

Situated,

Vv.

BLUE CROSS AND BLUE SHIELD OF
ALABAMA, and BLUE CROSS AND

Plaintiff,

BLUE SHIELD ASSOCIATION,

Defendants.

Case No.:

CLASS ACTION COMPLAINT

JURY TRIAL DEMAND

PREAMBLE

“100 million covered.
83 years strong.
38 focal companies.
Connected by I Association.”

- Blue Cross and Blue Shield Association website

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N.D. OF ALABAI

Plaintiffs GC Advertising, LLC and CB Roofing, LLC (collectively,

“Plaintiffs”), on behalf of themselves and all others similarly situated, in their

complaint against Defendants Blue Cross and Blue Shield of Alabama (“BCBS-
AL”), and the Blue Cross and Blue Shield Association (‘“BCBSA” or the

“Association”), allege violations of antitrust laws as follows:

1,

As set forth in this complaint, the BCBS-AL Defendant enjoys

unrivaled market power in Alabama. The dominant market share of BCBS-AL is

the direct result of an illegal agreement between the BCBSA and its members, in

which dozens of the nation’s largest health insurance companies have agreed that
Case MDL No. 2406 Document 2-4 Filed 09/07/12 Page 15 of 41

they will restrict competition among themselves through the establishment of
exclusive territories in exchange for the right to use the BCBSA marks, services,
benefits, and brands. These market allocation agreements are implemented
through Biue Cross and Blue Shield license agreements executed between BCBSA,
a licensing vehicle that is owned and controlled by all of the Blue Cross and Blue
Shield plans (collectively, the “Blues”), and each individual Blue Cross and Blue
Shield licensee, including the BCBS-AL Defendant. Through the terms of these
per sé illegal license agreements, the independent Blue Cross and Biue Shield
entities to include BCBS-AL throughout the country have explicitly agreed not to
compete with one another, in direct violation of Section | of the Sherman Act. By
so agreeing, they have perpetuated and strengthened the dominant market position
that each Blue Cross and Blue Shield entity has historically enjoyed in its
specifically defined geographic market. Indeed, BCBS licensees collectively are
the largest health insurers, as measured by number of subscribers, in 44 states.

2. The member Blues, including BCBS-AL, while operating as
independent economic entities, are all licensees of the BCBSA. This licensure has
entitled BCBS-AL to certain rights within the BCBSA scheme, such as exclusive
use of the “Blue Cross” or “Blue Shield” emblem within its defined territory.
Importantly, BCBSA members elect a board of directors composed exclusively of
member Blues. The board of directors in turn establishes rules that require
licensing agreements and an agreement not to compete in each other’s exclusive
territories. There is no procompetitive justification for these licensing agreements
and restrictions on competition in exclusive territories. Instead, they are naked
restraints on trade, are not ancillary to the legitimate and competitive purposes of
the BCBS-AL, and have profound anticompetitive effects.

3. The Defendants’ illegal conspiracy has furthered BCBS-AL market

power and, in turn, contributed to skyrocketing premiums. In a truly competitive
Case MDL No. 2406 Document 2-4 Filed 09/07/12 Page 16 of 41

market for health insurance, and absent the illegal agreement between BCBS-AL
Defendant and the other Blues to divide markets and eliminate competition, such
inflated premiums would not be possible. In addition, the agreement among the
BCBSA entities prohibits the sale or transfer of provider networks to non-Blue
members and, thereby, further restrains competition. It has been recognized that
the acquisition of a provider network is perhaps the most significant barrier to
entry for health insurers considering entering a new geographic market, and that
the cost of internally developing rather than acquiring such a network is often
considered prohibitive. As a result, the contractual restrictions established through
BCBSA and agreed to by member Blues create an immense barrier to entry into
the market for health insurance in the states dominated by BCBS. Fair competition
is not possible so long as BCBS-AL and BCBSA are permitted to enter into
agreements that have the actual and intended effect of restricting the ability of
health insurance companies from competing in certain territories.

4, Further described below, this arrangement via the BCBSA is a naked
territorial restraint on competition in the market for health insurance. The
contracts, combinations, and conspiracies in restraint of trade alleged herein, are
illegal under Section | of the Sherman Act, 15 U.S.C. §1.

JURISDICTION AND VENUE
5. This Court has federal question jurisdiction pursuant to 28 U.S.C.

§§1331 and 1337(a) because Plaintiffs bring their claims under Sections 4 and 16
of the Clayton Act, 15 U.S.C. §§15 and 26, to recover treble damages and costs of
suit, including reasonable attorneys’ fees, against BCBSA and BCBS-AL for the
injuries sustained by Plaintiffs and the Class by reason of the violations, as

hereinafter alleged, of Sections 1 of the Sherman Act, 15 U.S.C. §1.
Case MDL No. 2406 Document 2-4 Filed 09/07/12 Page 17 of 41

6. This action is also instituted to secure injunctive relief against BCBSA
and BCBS-AL to prevent them from further violations of Sections 1 of the
Sherman Act.

7 Venue is proper in this district pursuant to Sections 4, 12, and 16 of
the Clayton Act, 15 U.S.C. §§15, 22, and 26, and 28 U.S.C. §1391.
PARTIES
Plaintiffs

8. Plaintiff GC Advertising, LLC is an Alabama limited liability
company with its principal place of business in Montgomery, Alabama. During
the Class Period, GC Advertising, LLC contracted with and paid premiums directly
to BCBS-AL for health insurance for its employees.

a Plaintiff CB Roofing, LLC is an Alabama limited liability company
with its principal place of business in Chelsea, Alabama. During the Class Period,
CB Roofing, LLC contracted with and paid premiums directly to BCBS-AL for
health insurance for its employees.

Defendants

10. Defendant BCBS-AL is the health insurance plan operating under the
Blue Cross and Blue Shield trademarks and trade names in Alabama. BCBS-AL is
by far the largest provider of healthcare benefits in Alabama, providing coverage to
more than three million people. The principal headquarters for BCBS-AL is
located at 450 Riverchase Parkway East, Birmingham, Alabama 35244.

11. Defendant BCBSA is a corporation organized in the State of Illinois
and headquartered at 225 N. Michigan Avenue, Chicago, Illinois 60601. It is
owned and controlled by 38 health insurance plans that operate under the Blue
Cross and Blue Shield trademarks and trade names. BCBSA was created by these
plans and operates as the licensor. Health insurance plans operating under the Blue

Cross and Blue Shield trademarks and trade names provide health insurance
Case MDL No. 2406 Document 2-4 Filed 09/07/12 Page 18 of 41

coverage for approximately 100 million subscribers—or one in three—Americans.
BCBSA itself does not provide health services and does not contract with
physicians for the provisions of services, but it operates to create consistency and
cooperation among its 38 members. It is owned and controlled by its members and
is governed by a board of directors, two-thirds of which must be composed of
either plan chief executive officers or plan board members. The 38 plans fund
Defendant BCBSA.

12. The activities of Defendants and their co-conspirators, as described
herein, were within the flow of, and had a substantial effect on, interstate

commerce.
FACTUAL ALLEGATIONS
13. BCBS-AL enjoys unrivaled market dominance within the State of

Alabama. BCBS-AL insures over 80% of the subscribers covered by small and
mid-size group plans in Alabama; demonstrating the complete lack of meaningful
competition within this market. For example, in 2008, BCBS-AL enrolled 96% of
subscribers of full service commercial health insurance plans in the Alabama small
group market, whether the insurance was offered through a health maintenance
organization (“HMO”) or through a preferred provider organization (“PPO”) plan.
This is the highest share of the small group insurance market achieved by any
health insurance carrier in any state in the country.

14. The situation in Alabama, while extraordinary, is not unique,
however, as the BCBSA participants all reap similar benefits in their respective
service areas across the United States. For example, according to certain data
reported by the U.S. Government Accountability Office, BCBS-AL enjoys 96%
market share in Alabama; BCBS-AL’s market dominance in Alabama is the result
of a systematic and longstanding agreement between and among BCBS-AL and

the remaining insurance companies that license the Blue Cross and/or Blue Shield
Case MDL No. 2406 Document 2-4 Filed 09/07/12 Page 19 of 41

brands to unlawfully divide and allocate the geographic markets for health
insurance coverage in the Alabama and the United States and to obstruct the entry
of non-BCBS insurers, thereby eliminating competition. This illegal restraint is
implemented through the Blue Cross and Blue Shield license agreements that each
licensee has entered into with Defendant BCBSA. As detailed herein, the member
health insurance plans of BCBSA have each entered into licensing arrangements
with BCBSA that allocate the geographic markets for health insurance by limiting
each Blue’s activity outside of a designated service area, thereby preventing
competition among BCBS companies. Moreover, these agreements effectively
obstruct entry by non-BCBS insurers by, among other things, preventing the sale
or transfer of established networks to non-Blue entities. These provisions have
insulated BCBS-AL and the other Blues from competition by both Blues and non-
Blues in each of their respective service areas. These provisions of the BCBS
agreements operate as effective restraints on competition, and have no sufficient
economic justification aside from protecting BCBS-AL and other Blues entities
from competition.

15. It is well recognized that competition drives down prices and this is
true in health insurance as it is in other markets. Defendants’ anticompetitive
practices, by eliminating competition and reducing the choices available to health
insurance consumers, have raised the premiums that residents in Alabama must
pay to obtain health insurance. This has further allowed BCBS-AL to collect
supracompetitive profits, higher than they would have experienced had there been
unimpeded competition in the states in question. Indicia of supracompetitive
profits include high medical loss ratios, high underwriting margins, and surpluses
well above statutory requirements. Defendants have not undertaken the above
practices and activities in isolation, but instead have done so as part of a common

scheme and conspiracy.
Case MDL No. 2406 Document 2-4 Filed 09/07/12 Page 20 of 41

16. By and through their agreement, BCBS-AL has been able to acquire
and maintain a grossly disproportionate market share for health insurance products
in Alabama. Consequently, BCBS-AL has benefited from inflated surpluses and
increased underwriting margins, and has exploited the decreased medical loss
ratios in the allocated market to the resulting detriment and antitrust injury of
health insurance subscribers in Alabama.

17. The Defendants’ co-conspirators include other Blues that are not
Defendants in this action.

18. BCBS-AL and the other Blues are all independently owned and
operated licensees of the BCBSA that conduct business in distinct geographical
regions. The Blues have engaged in a common course of illegal conduct to
increase their profits to the detriment of subscribers.

History and Background of the Blue Cross and Blue Shield Plans and BCBSA

19. Blue Cross and Blue Shield represents a coordinated effort by health

insurers to create a national brand with separate companies in local areas. From
inception, Blues companies have quickly captured dominant market shares in their
local service areas. The history of BCBSA demonstrates that the geographic
restrictions in its trademark licenses originated in an effort to avoid competition
between the various Blues, and to ensure that each Blue would retain a dominant
position within its local service area.

20. In 1937, Blue Cross plan executives met in Chicago. At that meeting,
American Hospital Association (“AHA”) officials announced that prepaid hospital
plans meeting certain standards of approval would receive institutional
membership in the AHA. In 1938, the Committee on Hospital Service adopted a
set of principles to guide its approval of prepaid hospital plans. One such principle

was that the plans would not compete with each other.
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21. The development of what became the Blue Shield plans followed, and
imitated, the development of the Blue Cross plans. These plans were designed to
provide a mechanism for covering the cost of physician care, just as the Blue Cross
plans had provided a mechanism for covering the cost of hospital care. Similarly,
the Blue Cross hospital plans were developed in conjunction with the AHA
(representing hospitals), while the Blue Shield medical society plans were
developed in conjunction with the American Medical Association (“AMA”)
(representing physicians).

22. In 1946, the AMA formed the Associated Medical Care Plans
(“AMCP”), a national body intended to coordinate and approve the independent
Blue Shield plans. When the AMCP proposed that the Blue Shield symbol be used
to signify that a Blue Shield plan was “approved,” the AMA responded, “i]t is
inconceivable to us that any group of state medical society Plans should band
together to exclude other state medical society programs by patenting a term,
name, symbol, or product.” In 1960, the AMCP changed its name to the National
Association of Blue Shield Plans, which in 1976 changed its name to the Blue
Shield Association.

23. Historically, the Blue Cross plans and the Blue Shield plans were
fierce competitors. During the early decades of their existence, there were no
restrictions on the ability of a Blue Cross plan to compete with or offer coverage in
an area already covered by a Blue Shield plan.

24. However, by the late 1940s, the Blue plans faced growing competition
not just from each other, but also from commercial insurance companies that had
recognized the success of the Blue plans and were now entering the market.

25. From 1947-48, the Blue Cross Commission and the AMCP attempted
to develop a national agency for all Blue plans to be called “Blue Cross and Blue

Shield Health Service, Inc.,” but the proposal failed. One reason given for its
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failure was the AMA’s fear that a restraint of trade action might result from such
cooperation.

26. Instead, to address competition from commercial insurers and
competition from other Blue plans, and to ensure national cooperation among the
different Blue entities, the plans agreed to centralize the ownership of their
trademarks and trade names.

27. Thus, in 1954, the Blue Cross plans transferred their rights in each of
their respective Blue Cross trade names and trademarks to the AHA. In 1972, the
AHA assigned its rights in these marks to the Blue Cross Association. Likewise,
in 1952, the Blue Shield plans agreed to transfer their ownership rights in their
respective Blue Shield trade names and trademarks to the National Association of
Blue Shield Plans, which was renamed the “Blue Shield Association” in 1976.

28. In 1982, the Blue Cross Association and the Blue Shield Association
merged to form BCBSA. At that time, BCBSA became the sole owner of the
various Blue Cross and Blue Shield trademarks and trade names that had
previously been owned by the local plans. That same year, BCBSA’s member
plans agreed to two propositions: (1) by the end of 1984, all existing Blue Cross
plans and Blue Shield plans should consolidate at a local level to form Blue Cross
and Blue Shield plans; and (2) by the end of 1985, all Blue plans within a state
should further consolidate, ensuring that each state would have only one Blue plan.
As a result of these goals, the number of member plans went from 110 in 1984, to
75 in 1989, to 38 today.

29, In 1987, the member plans of BCBSA held an “Assembly of Plans” —
a series of meetings held for the purpose of determining how they would and
would not compete against each other. During these meetings, these independent
health insurers and competitors agreed to maintain exclusive service areas when

operating under the Blue brand, thereby eliminating “Blue on Blue” competition.
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However, the Assembly of Plans left open the possibility of competition from non-
Blue subsidiaries of Blue plans an increasing problem that had caused complaints
from many Blue plans.

30. Subsequently, the Blue Cross and Blue Shield plans together agreed to
restrict the territories in which they would operate under a/y brand, Blue or non-
Blue, as well as the ability of non-members of BCBSA to control or acquire the
member plans. These illegal restraints are discussed below.

31. Although Blue Cross and Blue Shield plans were originally set up as
not-for-profit entities, during the 1980s and afterwards, they began to operate less
like charitable entities and more like for-profit corporations. Thus, in 1986,
Congress revoked the Blues’ tax-exempt status, leading to the formation of for-
profit subsidiaries. Consequently, the majority of the Blues converted to for-profit
status, and they still operate as such today. Those that have not officially
converted are only nominally characterized as not-for-profit as they generate
substantial earnings and surpluses, paying executives millions of dollars in salaries

and bonuses.
The BCBSA and Blues Entities
32. BCBSA calls itself “a national federation of 38 independent,

community-based and locally operated Blue Cross and Blue Shield companies”
and “the trade association for the Blue Cross Blue Shield companies.” ‘The
Association is a separate legal entity and it purports to promote the common
interests of the independent Blues entities. Defendant BCBSA and the Blue
entities cover a large percentage of the subscribers in the managed care market in
most states and in some local areas, and they also include a large percentage of
doctors and hospitals in their network of contracted providers. BCBSA states that
over 100 million individuals are enrolled with BCBS-AL and co-conspirator Blue

plans, approximately one in three individuals nationwide.
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33. The independent Blue Cross and Blue Shield licensees include many
of the largest health insurance companies in the United States who would be
potential competitors. Indeed, the largest health insurance company in the nation
by some measures is WellPoint, Inc., a BCBSA licensee. Similarly, 15 of the 25
largest health insurance companies in the country are BCBSA licensees. Absent
the Association’s licensing agreements with each of the Blues, these companies
would compete against each other in the market for commercial health insurance.

34. BCBSA’s member plans are independent health insurance companies
that license the Blue Cross and/or Blue Shield trademarks and trade names, and
that, but for any agreements to the contrary, could and would compete with one
another. Instead, with and through the Association, the Blues have divided health
insurance markets throughout the United States to eliminate competition. On its
website, BCBSA admits that “[w]hen the individual Blue companies’ priorities,
business objectives and corporate culture conflict, it is our job to help them
develop a united vision and strategy” and that it “[e]stablishes a common direction
and cooperation between [BCBSA] and the 39 [now 38] Blue companies.”

35. BCBSA not only requires each individual Blue plan to agree to the
territorial restrictions in the licensing agreements, but also serves as the epicenter
for the Blues’ communications and arrangements in furtherance of the
anticompetitive agreements. As BCBSA’s general counsel, Roger G. Wilson,
explained to the Insurance Commissioner of Pennsylvania, “BCBSA’s 39 [now 38]
independent licensed companies compete as a cooperative federation against non-
Blue insurance companies.” One BCBSA member plan admitted in its February
17, 2011 Form 10-K that “[e]ach of the [38] BCBS member companies . . . works
cooperatively in a number of ways that create significant market advantages. . . .”

36. BCBSA, as a separate legal entity, is a convenient vehicle for

anticompetitive agreements between and among the otherwise economically

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independent Blues, termed “Member Plans.” The Association’s board of directors
consists of the chief executive officer from each of its Member Plans and
BCBSA’s own chief executive officer. The board of directors holds meetings to
discuss the administration and management of BCBSA and its Member Plans,
while smaller committee meetings address specific health insurance issues. These
meetings provide a forum for representatives of Member Plans to share
information on such issues, and that information is later disseminated to all 38
members.

37. In addition, BCBSA includes numerous committees governed by the
Member Plans; it sponsors various meetings, seminars, and conferences attended
by the Member Plans; and produces manuals, reports, list serves, and other
correspondence to the Member Plans, all in furtherance of the conspiracy.

38. Furthermore, BCBSA has strict rules and regulations that all members
of BCBSA must obey concerning the Licensing Agreements members must adhere
to and the guidelines proposed members must adhere to prior to joining the
Association.! Those regulations provide for amendment with a three-fourths vote
of the Blues.

39. The Association polices the compliance of all members of BCBSA
with its rules and regulations. The Guidelines state that the Association’s Plan
Performance and Financial Standards Committee (the “PPFSC”) “is responsible for
making the initial determination about a Plan’s compliance with the license
agreements and membership standards. Based on that determination, PPFSC
makes a recommendation to the BCBSA Board of Directors, which may accept,

reject, or modify the recommendation.” In addition, the Guidelines state that

These rules and regulations include the Blue Cross License Agreement and the Blue

Shield License Agreement (collectively, the “License Agreements”), the Membership Standards
Applicable to Regular Members (the “Membership Standards”}, and the Guidelines to
Administer Membership Standards (the “Guidelines”).

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“BCBSA shall send a triennial membership compliance letter to each [member]
Plan’s CEO,” which includes, among other things, “a copy of the Membership
Standards and Guidelines, a report of the Plan’s licensure and membership status
by Standard, and PPFSC comments or concerns, if any, about the Plan’s
compliance with the License Agreements and Membership Standards.” In
response, “[t]he Plan CEO or Corporate Secretary must certify to the PPFSC that
the triennial membership compliance letter has been distributed to all Plan Board
Members.”

40, The Association controls and administers the disciplinary process for
members of BCBSA that do not abide by BCBSA’s rules and regulations. The
Guidelines describe three responses to a Member Plan’s failure to comply—
“Immediate Termination,” “Mediation and Arbitration,” and “Sanctions”—-each of
which is administered by the PPFSC and could result in the termination of a
Member Plan’s license.

41. The Association controls the termination of existing members from
BCBSA. According to the Guidelines, “a Plan’s licenses and membership [in
BCBSA] may only be terminated on a three-fourths or greater affirmative Plan and
Plan weighted vote.”

42. As the foregoing demonstrates, BCBSA not only enters into
anticompetitive agreements with the Blues entities to allocate markets, but also
facilitates the cooperation and communications between the Blues to suppress
competition within their respective areas of operation. BCBSA is a convenient
organization through which the Blues entities can enter into patently illegal

territorial restraints between and among themselves.

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The Horizontal nateements Not to Compete in the Licensing Arrangements
. etween an $ Viember Flans, Including BUBo-AL ,
Are réf o€ Violations of the oherman Act
43. The rules and regulations of BCBSA, including, but not limited to, the

License Agreements, the Membership Standards, and the Guidelines, constitute
horizontal agreements between would-be competitors, the independent Blue Cross
and Blue Shield licensees, to divide the geographic market for health insurance.
As such, they are a P@r S@ violation of Section | of the Sherman Act.

44. Through the License Agreements, each Blue Cross and Blue Shield
licensee agrees that neither it nor its subsidiaries will compete under the licensed
Blue Cross and Blue Shield trademarks and trade names outside of a designated
“Service Area.” The License Agreement defines each licensee’s Service Area as
“the geographical area(s) served by the Plan on June 10, 1972, and/or as to which
the Plan has been granted a subsequent license.”

45. Through the Guidelines and Membership Standards, each Blue Cross
and Blue Shield licensee agrees that at least 80% of the annual revenue that it or its
subsidiaries generate from within its designated Service Area (excluding Medicare
and Medicaid) shall be derived from services offered under the licensed Blue Cross
and Blue Shield trademarks and trade names. This provision directly limits the
ability of each Blue plan to generate revenue from non-Blue business. This
provision also thereby limits the ability of each plan to develop non-Blue brands
that could and would compete with Blue plans.

46, Through the Guidelines and Membership Standards, each Blue Cross
and Blue Shield licensee further agrees that at least two-thirds of the annual
revenue generated by it or its subsidiaries from either inside or outsidé of its
designated Service Area (excluding Medicare and Medicaid) shall be attributable
to services offered under the Blue Cross and Blue Shield trademarks and trade

names. The Guidelines provide that national enrollment can be substituted for

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annual revenue, making the alternative restriction that a plan will derive no less
than 66.66% of its national enrollment from its Blue business. This provision
directly limits the ability of each Blue plan to generate revenue from non-Blue
branded business, and thereby limits the ability of each plan to develop non-Blue
brands that could and would compete with Blue plans.

47. Therefore, each Blue Cross and Blue Shield licensee has agreed with
the Association that in exchange for having the exclusive right to use the Blue
brand within a designated geographic area, it will derive none of its revenue from
services offered under the Blue brand outside of that area, and will derive at most
one-third of its revenue from outside of its exclusive area, using services offered
under a non-Blue brand. The latter amount will be further reduced if the licensee
derives any of its revenue within its designated geographic area from services
offered under a non-Blue brand.

48. The foregoing restrictions on the ability of Blue plans to generate
revenue outside of their service areas constitute agreements to divide and allocate
geographic markets, and therefore are per S@ violations of Section 1 of the
Sherman Act.

49. BCBSA and the Blues admit to the existence of territorial market
divisions and the consequences of violating them. For example, the former Blue
Cross licensee in Ohio has publicly stated that the BCBSA Member Plans agreed
to include territorial restrictions in the Guidelines in order to block the sale of one
member plan to a non-member plan as that would create increased competition.

50. Blue licensee, WellPoint, describes the restrictions on its ability to do
business in its February 22, 2012 Form 10-K filed with the United States Securities
and Exchange Commission, stating that it had “no right to market products and
services using the BCBS names and marks outside of the states in which we are

licensed to sell BCBS products,” and that the “license agreements with the BCBSA

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contain certain requirements and restrictions regarding our operations and our use
of the [BCBS] names and marks, including . . . a requirement that at least 80% .. .
of a licensee’s annual combined local net revenue . . . attributable to health benefit
plans within its service area must be sold, marketed, administered or underwritten
under the [BCBS] names and marks” and “‘a requirement that at least 66 2/3% of a
licensee’s annual combined national net revenue . . . attributable to health benefit
plans must be sold, marketed, administered or underwritten under the[BCBS]
names and marks.”

51. The Association imposes harsh penalties on those that violate the
territorial restrictions. According to the Guidelines, a licensee that violates one of
the territorial restrictions could face “[l]icense and membership termination.” Ifa
Member Plan’s license and membership are terminated, it loses the use of the Blue
brands, which BCBSA admits on its website are “the most recognized in the health
care industry.” In addition, in the event of termination, a plan must pay a fee to
BCBSA. According to WellPoint’s February 22, 2012 Form 10-K, there was a
“re-establishment fee” of $98.33 per enrollee which would “allow the BCBSA to
‘re-establish’ a Blue Cross and/or Blue Shield presence in the vacated service
area.”

52. There are numerous Blue plans and non-Blue businesses owned by
such plans that could and would compete effectively in designated service areas,
but for the territorial restrictions. Instead, the BCBS Defendants in those areas
dominate the markets. The territorial restrictions have therefore barred
competition from the respective commercial health insurance markets.

53. For example, with approximately 34 millions enrollees, WellPoint is
the largest health insurer in the country by total medical enrollment, and is the
BCBSA licensee for 14 states, and also serves the entire nation through its non-

Blue brand subsidiary, UniCare. However, WellPoint does not have a presence in

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any of the BCBS Defendants’ states. But for the illegal territorial restrictions
described herein, WellPoint would likely offer its health insurance products and
services in those states and compete with BCBS Defendants. Such competition
would result in lower health care costs and premiums paid by affected enrollees.

54, Similarly, Blue Cross and Blue Shield of Florida is the 15th largest
health insurer in the country by total medical enrollment with more than seven
million enroliees. But for the illegal territorial restrictions, it could offer its health
insurance services and products in Alabama and other states and compete with
BCBS-AL. Such competition would result in lower health care costs and
premiums paid by BCBS-AL enrollees.

55. Therefore, the territorial restrictions agreed to by all BCBSA members
operate to restrain competition by preventing Member Plans from competing with
each other and with non-Blue plans. These prohibitions on competition apply no
matter how favorable the efficiencies and economies of scale that might result
from expansion of a Blue into a new area, and no matter how much premiums and
other costs might be reduced if competition were permitted.

The Anticompetitive Acquisition Restrictions in the BOBSA Licensing
Agreements

56. In addition to the per sé illegal territorial restrictions summarized

above, the rules and regulations of BCBSA also include provisions that restrict the
ability of non-members of BCBSA to acquire or obtain control over any Member
Plan. These provisions create a significant barrier to entry for companies that are
not BCBSA members or their affiliates. As such, they further restrain competition
by helping BCBS companies to capture and maintain high market shares and
elevate prices.

57. First, the Guidelines state that “[n]Jeither a [Member} Pian nor any

Larger Controlled Affiliate shall cause or permit an entity other than a [Member]

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Plan or a Licensed Controlled Affiliate thereof to obtain control of the [Member]
Plan or Larger Controlled Affiliate or to acquire a substantial portion of its assets
related to licensable services.” Should a non-member wish to obtain such control
or assets, it “is invited to apply to become a licensee.” However, as alleged above,
the Member Plans control the entry of new members into BCBSA. Should a non-
member attempt to join BCBSA in order to obtain control or to acquire a
substantial portion of the assets of a Member Plan, the Association—and through
it, the Member Plans—could easily block its membership. Moreover, such a new
member would be immediately limited by the BCBSA license’s territorial
restrictions. It would be forbidden from operating as a BCBS entity in a service
area already inhabited by a BCBS entity, yet it would be required to make at least
66.7% of its revenue under the BCBS name. For many potential acquirers with a
pre-existing footprint in the U.S. health insurance market, these two conditions
would be impossible to meet.

58. Second, the License Agreements contain a number of acquisition
restrictions applicable to for-profit Blue Cross and Blue Shield licensees (/.@. to
those licensees who would otherwise be capable of having their shares acquired).
These include four situations in which a Member Plan’s license will terminate
automatically. (1) if any institutional investor becomes beneficially entitled to
10% or more of the voting power of the Member Plan; (2) if any non-institutional
investor becomes beneficially entitled to 5% or more of the voting power of the
Member Plan; (3} if any person becomes beneficially entitled to 20% or more of
the Member Plan’s then outstanding common stock or equity securities; or (4) if
the Member Plan conveys, assigns, transfers, or sells substantially all of its assets
to any person, or consolidates or merges with or into any person, other than a
merger in which the Member Plan is the surviving entity and in which,

immediately after the merger, no institutional investor is beneficially entitled to

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10% or more of the voting power, no non-institutional investor is beneficially
entitled to 5% or more of the voting power, and no person is beneficially entitled to
20% or more of the then outstanding common stock or equity securities. These
restrictions apply unless modified or waived in particular circumstances upon the
affirmative vote both of a majority of the disinterested Member Plans and of a
majority weighted vote of the disinterested Member Plans. These restraints
effectively preclude the sale of a BCBSA member to a non-member entity absent
special approval.

59. These acquisition restraints reduce competition by substantially
reducing the ability of non-member insurance companies to expand their business.
In order to expand into a new geographic area, a non-member insurance company
faces the choice of whether to build its own network in that area or to acquire a
network by buying some or all of an existing plan in that area. Through the
acquisition restrictions, BCBSA and the Blue plans have conspired to force
competitors to build their own networks, and have effectively prohibited those
competitors from ever choosing what may often be the more efficient solution of
acquiring new networks by purchasing some or all of an existing Blue plan. Blue
provider networks may be the most cost effective due to historical tax breaks,
favorable legislation, and long-term presence in a region. In fact, national insurers
rarely enter a new regional market without purchasing a large local firm. By
preventing non-Blue entities from acquiring Blue entities and their networks, the
acquisition restrictions in the BCBSA licenses effectively force competitors to
adopt less efficient methods of expanding their networks, thereby reducing and in
some instances eliminating competition.

60. By agreeing to restrict the pool of potential purchasers of a Blue
licensee to other Blue licensees, the Member Plans of BCBSA raise the costs their

rivals must incur to expand their networks and areas of practice, reduce efficiency,

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and protect themselves and each other from competition. The net effect is less

competition and higher premium costs for consumers.

The BCBSA Licensing Agreements Have Reduced Competition in Designated
Areas

61. BCBS-AL, as licensee, member, and parts of the governing body of
BCBSA, has conspired with the other Member Plans of BCBSA to create, approve,
abide by, and enforce the rules and regulations of BCBSA, including the per sé
illegal territorial restrictions in the License Agreements and Guidelines. Many of
the Member Plans with which BCBS-AL t has conspired would otherwise be
significant competitors of BCBS-AL, and they likewise would be competitors of
each other.

62. As noted above, WellPoint is the largest health insurer in the country
by total medical enrollment. It is the Blue Cross and Blue Shield licensee for
Georgia, Kentucky, and portions of Virginia, as well as for California (Blue Cross
only), Colorado, Connecticut, Indiana, Maine, Missouri (excluding 30 counties in
the Kansas City area), Nevada, New Hampshire, New York (as Blue Cross and
Blue Shield in 10 New York City metropolitan and surrounding counties, and as
Blue Cross or Blue Cross and Blue Shield in selected upstate counties only), Ohio,
and Wisconsin, and also serves customers throughout the country through its non-
Blue brand subsidiary, UniCare. But for the illegal territorial restrictions
summarized above, WellPoint would be likely to offer its health insurance services
and products in competition with BCBS-AL . Such competition would result in
lower health care costs and premiums paid by affected enrollees.

63. In addition to the foregoing example, there are dozens of other Blue
plans that would and could compete in the designated areas but for the illegal
territorial restrictions. In addition, the BCBS-AL could compete with others. As

alleged above, 15 of the 25 largest health insurance companies in the country are

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Blue plans. If all of these plans, together with all other BCBSA members, were
able to compete in each other’s territories, the result would be lower costs and,
thus, lower premiums paid by enrollees.

CLASS ACTION ALLEGATIONS
64. Plaintiffs bring this action on behalf of themselves and on behalf of a

class of similarly situated persons. Plaintiffs bring this action seeking damages and
permanent injunctive relief on behalf of a class of plaintiffs pursuant to the
provisions of Rule 23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure,

with such class (the “Class”) defined as:

All persons or_entities who, from March i, 2008, to the

present (the “Class Period”), have paid health insurance
remiums, all or in part, to BCBS-AL for individual
ealth insurance or for small group full-service

commercial health insurance.

Additionally, Plaintiffs seek a class on behalf of:

All persons or entities who, from March 1, 2008, to the

present (the “Class Period”), have paid health insurance

premiums, ail or in part, to any BCBSA licensee for

individual health insurance or for small group full-service
commercial health insurance.

65. The Plaintiffs are members of the Class, their claims are typical of the
claims of the other Class members, and Plaintiffs will fairly and adequately protect
the interests of the Class. Plaintiffs are represented by counsel competent and
experienced in the prosecution of class action antitrust litigation. Plaintiffs’
interests are coincident with, and not antagonistic to, those of the other members of
the Class.

66. The anticompetitive conduct of Defendants alleged herein has
imposed, and threatens to impose, a common antitrust injury on the Class
members. The Class members are so numerous that joinder of all members is

impracticable.

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67. Defendants’ relationships with the Class members and Defendants’
anticompetitive conduct have been substantially uniform. Common questions of
law and fact will predominate over any individual questions of law and fact.

68. Defendants have acted, continue to act, refused to act, and continue to
refuse to act on grounds generally applicable to Class members, thereby making
appropriate final injunctive relief with respect to Class members as a whole.

69. There will be no extraordinary difficulty in the management of this
class action. Common questions of law and fact exist with respect to all Class
members and predominate over any questions solely affecting individual members.
Among the questions of law and fact common to Class members, many of which

cannot be seriously disputed, are the following:

1. whether the BCBSA and its member Blues including
BCBS-AL, entered into agreements to divide geographic
markets for health insurance;

li. Whether such agreements constitute a contract,
combination, or conspiracy pursuant to Section | of the
Sherman Act;

ili, | Whether such agreements constitute illegal restraints of
trade in violation of Section | of the Sherman Act;

iv. whether virtually all Class members have suffered injury
or are threatened to suffer injury flowing directly from
such agreements to divide geographic markets for health
insurance alleged herein;

V. the proper measure of damages sustained by the Class as
a result of the agreements alleged herein; and

vi. the appropriate injunctive relief to enjoin Defendants’
illegal conduct.

70. These and other questions of law and fact are common to Class
members and predominate over any issues affecting only individual Class

members.

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71. The prosecution of separate actions by individual Class members
would create a risk of inconsistent or varying adjudications, establishing
incompatible standards of conduct for Defendants.

72. This class action is superior to any other method for the fair and
efficient adjudication of this legal dispute, as joinder of all members is not only
impracticable, but impossible. The damages suffered by many Class members are
small in relation to the expense and burden of individual litigation and, therefore, it
is highly impractical for such Class members to individually attempt to redress the

wrongful anticompetitive conduct alleged herein.

VIOLATIONS ALLEGED

Count One
(Contract, Combination, or Conspiracy in Restraint of Trade—/er Se
and Rule of Reason Violation of Section 1 of the Sherman Act)

73. Plaintiffs repeat and reallege the allegations of the foregoing
paragraphs as if set forth herein.

74. The License Agreements, Membership Standards, and Guidelines
entered into between BCBSA and the Blue entities—including BCBS-AL
Defendant—represent a contract, combination, and conspiracy to unreasonably
restrain trade within the meaning of Section | of the Sherman Act.

75. Through the License Agreements, Membership Standards, and
Guidelines, BCBSA and BCBS-AL Defendant have agreed to divide and allocate
the geographic markets for the sale of commercial! health insurance into a series of
exclusive areas for each of the 38 BCBSA members. By so doing, the BCBSA
members—including BCBS-AL Defendant—have agreed to suppress competition
and increase prices for individual and small group health insurance sold in their
respective territories in violation of Section 1 of the Sherman Act. These market

allocation agreements are Péf Sé illegal under Section | of the Sherman Act.

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76. Asa direct and proximate result of BCBS-AL’s continuing violations
of Section 1 of the Sherman Act, Plaintiffs and other members of the Class have
suffered injury and damages of the type that the federal antitrust laws were
designed to prevent. Such injury flows directly from that which makes
Defendants’ conduct unlawful. These damages consist of having paid higher
health insurance premiums to BCBS-AL’s than they would have paid with
increased competition and but for the anticompetitive agreement.

77, Plaintiffs and the Class seek monetary damages from BCBS-AL and
BCBSA for their violations of Section | of the Sherman Act.

78. The Defendants’ unlawful conduct threatens to continue to injure the
Plaintiffs and the Class members. Plaintiffs and the Class seek a permanent
injunction prohibiting BCBS-AL and BCBSA from entering into, or from honoring
or enforcing, any agreements that restrict the territories or geographic areas in
which any BCBSA member may compete.

RELIEF REQUESTED
WHEREFORE, Plaintiffs request that this Court:

A. — Determine that this action may be maintained as a class action under
Federal Rule of Civil Procedure Rule 23;

B.  Adjudge and decree that BCBSA and BCBS-AL have violated
Section | of the Sherman Act;

C. Permanently enjoin BCBSA and BCBS-AL from entering into, or
from honoring or enforcing, any agreements that restrict the territories or
geographic areas in which any BCBSA member plan may compete;

D. Award Plaintiffs and the Class damages in the form of three times the
amount by which premiums charged by BCBS-AL have been artificially inflated
above their competitive levels during the Class Period;

E. Award costs and attorneys’ fees to Plaintiffs;

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F. For a trial by jury; and

G. | Award any such other and further relief as may be just and proper.
JURY TRIAL DEMAND

Pursuant to Federal Rules of Civil Procedure Rule 38(b), Plaintiff hereby

demands a trial by jury on all issues.

Respectfully submitted this 24" day of July, 2012.

// Greg L. Davis

Greg L. Davis

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Montgomery, Alabama 36117
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REQUEST FOR SERVICE

Pursuant to FRCP 4.1 and 4.2, Plaintiffs request service of the foregoing
Complaint by certified mail.

/8/ Greg L. Davis
Of Counsel

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PLEASE SERVE DEFENDANTS BY CERTIFIED MAIL AS FOLLOWS:

BLUE CROSS AND BLUE SHIELD OF ALABAMA
Attn: Legal Department

450 Riverchase Parkway East

Birmingham, AL 35244-2858

BLUE CROSS AND BLUE SHIELD ASSOCIATION
Attn: Legal Department

225 North Michigan Avenue

Chicago, IL 60601

/8/ Greg L. Davis
OF COUNSEL

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EXHIBIT 1

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Exhibit 1: Market Share of Blue Cross and Blue Shield Entities in 2008, 2010, and 2011

STATE All Commercial October 2011 Blue Cross and Biue
Insurance (PPO + Kaiser Family Shield Market Share
HMO) Foundation Small for Small Group
2011 AMA Group / Individual Health Insurance
Comprehensive Study” | Insurance Market for | Carriers (2008 Survey

2010" by GAO)

Alabama 90 96 / 86 96

Alaska 74 71/59 77

Delaware 70 57/50 58

Hawaii 62 67/52 N/A

Illinois 55 52 / 66 5]

Iowa 56 62 / 84 60

Kansas §3 62 / 46 N/A

North Carolina | 59 64/81 65

South Carolina | 55 67/54 56

Tennessee 59 70 / 36 68

* AMERICAN MEDICAL ASSOCIATION, COMPETITION IN HEALTH INSURANCE: A COMPREHENSIVE
STuDY OF U.S. MARKETS (2011), ava//ab/e at https://catalog.ama-assn.org/Catalog/product/
product_detail.jsp?productlId=prod 1940016 (subscription required).

> THE HENRY J. KAISER FAMILY FOUNDATION, FOCUS ON HEALTH REFORM: How COMPETITIVE
ARE STATE INSURANCE MARKETS (2011), available at
http://www.kff.org/healthreform/upload/8242.pdf.

4 U.S. GOVERNMENT ACCOUNTABILITY OFFICE, PRIVATE HEALTH INSURANCE: 2008 SURVEY

RESULTS ON NUMBER AND MARKET SHARE OF CARRIERS IN THE SMALL GROUP HEALTH
INSURANCE MARKET (2009), ava/lab/e at http://www.gao.gov/new.items/d09363r. pdf.

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